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11
                               UNITED STATES DISTRICT COURT
12
                           CENTRAL DISTRICT OF CALIFORNIA
13

14
     ANTHONY PAN, an individual;               CASE NO.:
15
                      Plaintiff,
16                                             COMPLAINT
           v.
17                                             [CLASS ACTION]
     MASTER LOCK COMPANY, LLC., a
18   Delaware corporation;                     1. Violation of California’s Unfair
                                                  Competition Law;
19                     Defendant.              2. Violation of California’s Consumers
                                                  Legal Remedies Act;
20                                             3. Violation of California’s False
                                                  Advertising law;
21                                             4. Violation of California’s Implied
                                                  warranty of Merchantability.
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                                               (Jury Trial Demanded)
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                                    COMPLAINT (CLASS ACTION)
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 1         Anthony Pan (“Plaintiff”) through undersigned counsel, on behalf of himself and all
 2   others similarly situated, brings this Class Action Complaint against Master Lock
 3   Company, LLC (“Defendant” or “Master Lock”) and alleges upon personal knowledge as
 4   to his own actions, and upon information and belief as to counsel’s investigations and all
 5   other matters, as follows:
 6                                     NATURE OF ACTION
 7         1.       This case seeks recovery for consumers who have overpaid for lock boxes
 8   that Master Lock falsely claims are suitable for safe and secure outside storage of house
 9   keys and other items.
10         2.       Master Lock manufactures and sells the two models of push-button
11   combination lock boxes that are subjects of this lawsuit, the “5422D Portable Lock Box”
12   (the “5422D”) and the “5423D Wall Mount Lock Box” (the “5423D”) (collectively, the
13   “Products”).
14         3.       The Products are metal boxes with 12 buttons on the front, resembling a
15   telephone keypad containing the numerals 0-9 as well as the asterisk and number symbols.
16   The Products differ only insofar as the 5422D has a shackle, allowing for attachment to a
17   gate or doorknob, while the 5423D has screw holes instead of a shackle so that it can be
18   mounted to a wall.
19         4.       The Products are opened by inputting a user-selected combination and then
20   depressing a rectangular open switch above the keypad.
21         5.       Master Lock advertises the Products to consumers who wish to securely store
22   home entry devices, such as keys or garage door openers, on the outside of their houses.
23   Master Lock expressly markets the Products as a better alternative to hiding keys under a
24   doormat or potted plant.
25         6.       What Master Lock refuses to tell consumers, though, is that the Products have
26   a security vulnerability that allows any unauthorized person to decode and gain access to
27   the Products quickly and without tools. By applying continuous pressure to the open switch
28   and then testing each button, any person can identify which buttons are part of the
                                                  2
                                       COMPLAINT (CLASS ACTION)
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 1   combination. In fact, the order of the buttons pressed does not matter; all the unauthorized
 2   person needs to do to gain access is press the correct buttons and open the lock box.
 3         7.      To make matters worse, although the Products’ vulnerability to unauthorized
 4   access is not common knowledge among consumers, it is known to or easily ascertained
 5   by burglars or other people seeking unauthorized access. As a result, the Products are unfit
 6   for their advertised use.
 7         8.      Plaintiff, like all members of the putative class, either would not have
 8   purchased the Products had he known of the vulnerability or would have only been willing
 9   to pay substantially less.
10         9.      Master Lock has violated California consumer protection and warranty laws.
11   Plaintiff seeks an award of damages and appropriate equitable relief, including an order
12   enjoining Master Lock from continuing to sell lock boxes with the security vulnerability.
13                                             PARTIES
14         10.     Plaintiff Anthony Pan is an individual residing in Los Angeles County,
15   California.
16         11.     Defendant Master Lock Company, LLC is a Delaware corporation. Its
17   principal place of business is 6744 S Howell Avenue, Oak Creek, Wisconsin.
18                                 JURISDICTION AND VENUE
19         12.     This Court has original jurisdiction pursuant to the Class Action Fairness Act,
20   23 U.S.C. § 1332(d), because: (1) there are at least one hundred members of the proposed
21   class; (2) the aggregated claims of the individual Class Members exceed the sum value of
22   $5,000,000 exclusive of interest and costs; and (3) Defendant and more than two-thirds of
23   the proposed class are citizens of different states.
24         13.     Venue is proper in this district because Plaintiff resides in the Central District
25   of California and purchased a 5422D Portable Lock Box in the Central District of
26   California.
27                                  FACTUAL ALLEGATIONS
28         14.     Key lock boxes have become a ubiquitous sight in the entries of California
                                                   3
                                        COMPLAINT (CLASS ACTION)
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 1   homes. In theory, they provide a convenient way to lend housekeys to guests without
 2   having to meet them in-person. All a homeowner needs to do is secure the key inside the
 3   lockbox, and text or email the combination to the guest. More generally, they provide a
 4   readily accessible place for a homeowner to store a spare house key.
 5         15.   Yet lock boxes have a downside: like the front of a bank vault, they effectively
 6   broadcast to anyone who walks by that they contain something valuable, in this instance a
 7   house key. Thus, like a bank vault, a lock box is a recognizable target and therefore must
 8   be effective at preventing unauthorized access.
 9         16.   This case arises because two of Defendant’s most popular lockboxes are not
10   up to the task. As explained below, the 5422D and 5423D can be opened easily without
11   knowing the code and without tools by any burglars familiar with their vulnerabilities.
12         17.   According to Master Lock’s website, the 5422D and 5423D are Defendant’s
13   “best seller” solutions for “Secure Storage” of “Keys, Key Fobs, & Access Cards[.]” See
14   https://www.masterlock.com/products/product/5422D (accessed November 7, 2022) and
15   https://www.masterlock.com/products/product/5423D (accessed November 7, 2022).
16         18.   The Products are pictured below:
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25               The 5422D                               The 4323D
26         19.   Defendant claims that the Products provide secure storage for keys, and a
27   better option for homeowners than hiding keys near a door. This point is made explicitly
28   in pictures posted on Defendant’s website:
                                                4
                                     COMPLAINT (CLASS ACTION)
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12   https://www.masterlock.com/products/product/5423D (accessed November 7, 2022).
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24   https://www.masterlock.com/products/product/5422D (accessed November 7, 2022).
25         20.   Defendant’s claim that the Products provide “secure storage for keys” is also
26   present on the Products’ physical clamshell packaging, and the Products’ Amazon listings.
27         21.   According to Master Lock’s website, the Products are available for purchase
28   on Amazon, The Home Depot, Lowe’s, and Do it Best.
                                                5
                                     COMPLAINT (CLASS ACTION)
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 1         22.    To operate the Products, the user first depresses the rectangular “open” lever
 2   above the alphanumeric keypad. This will open the lockbox because the Products ship
 3   from the factory with no set combination.
 4         23.    Next, the user can select which of the alphanumeric buttons to include in the
 5   personalized combination. This is done by setting arrows on the back of each button to
 6   either the “off” or “on” position using an included tool. The lockbox must be open to access
 7   the arrows. So, for example, a user wishing to have a combination of 1567 would set the
 8   1, 5, 6, and 7 arrows to the “on” position, and leave the rest of the arrows in the “off”
 9   position.
10         24.    Once the user combination is selected, the lockbox is closed. In the future, the
11   “open” lever will only work if 1, 5, 6, and 7 are pressed first, and no other buttons have
12   been pressed.
13         25.    The “C” button (standing for “clear”) below the alphanumeric pad will release
14   all the buttons, allowing an operator to start over if an incorrect combination was entered.
15         26.    Defendant has posted an instructional video on YouTube demonstrating the
16   operation of the Products described above. See “5422D/5423D Lock Boxes,”
17   https://www.youtube.com/watch?v=HhcSrKVRST0&t=145s.
18         27.    However, Defendant fails to mention in its instructional video—or any of its
19   other advertising—that the Products provide essentially no defense against burglars.
20   Indeed, they likely do more harm than good.
21         28.    The problems start with the Products’ combination feature. The word
22   “combination” implies “an ordered sequence … such as … a sequence of letters or
23   numbers         chosen      in      setting      a      lock[.]”      https://www.merriam-
24   webster.com/dictionary/combination (accessed on November 7, 2022). Yet, in the case of
25   the Products, the order that the buttons are pressed does not matter. If the user has selected
26   1567 as the combination, the lockbox will open if 7651 is pressed instead. Thus, a person
27   seeking unauthorized access to the lock box need only figure out which of the buttons have
28   been set to the “on” position. And unfortunately, Master Lock has designed the Products
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                                       COMPLAINT (CLASS ACTION)
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 1   in such a way that anyone can, with minimal skill and effort, do exactly that.
 2           29.   Any person seeking to decode the Products first presses the buttons they wish
 3   to test. Next, firm continuous pressure is applied to the “open” lever. The buttons that are
 4   not part of the combination will travel substantially more freely than the ones in the “off”
 5   position.
 6           30.   On January 24, 2020, YouTube content creator LockPickingLawyer posted a
 7   video demonstrating this exploit. See “[1032] No Tools Needed: Master Lock Push Button
 8   Key Box Decoded,” https://www.youtube.com/watch?v=6RSXQsYYso4 (accessed
 9   November 7, 2022). Since its posting, the video has amassed more than 1 million views.
10           31.   On January 5, 2015, YouTube content creator BosnianBill posted a video
11   demonstrating substantially the same exploit on another model of Master Lock lockbox,
12   the     model    5425D.     See     “Airbnb    Test      Lock   #4     (Master     5425D)”
13   https://www.youtube.com/watch?v=jEz5-MdIzVQ (accessed November 7, 2022). This
14   video has been viewed 59,000 times. The 5425D differs from the Products only insofar as
15   it uses a code wheel instead of alphanumeric pushbuttons.
16           32.   On information and belief, Master Lock was aware of the exploit shown in
17   the LockPickingLawyer and BosnianBill videos at all relevant times.
18           33.   Despite its knowledge of the Products’ vulnerability to unauthorized access,
19   Master Lock has continued, at all relevant times, to hold them out to California consumers
20   as a secure outside storage option for house keys.
21           34.   Master Lock chooses to intentionally conceal or, at best, omit the existence
22   of the Products’ vulnerability to unauthorized access.
23           35.   Consumers cannot be expected to discover the Products’ vulnerability to
24   unauthorized access prior to purchase.
25           36.   Were consumers aware of the Products’ vulnerability to unauthorized access,
26   they would either not purchase the Products at all, or only be willing to pay significantly
27   less.
28           37.   The Products’ vulnerability to unauthorized access poses a safety hazard to
                                                  7
                                       COMPLAINT (CLASS ACTION)
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 1   Californians who purchase and use the Products.
 2         38.     On August 5, 2021, Plaintiff purchased a 5422D on Amazon to store a spare
 3   house key on the outside of his home. Plaintiff purchased the 5422D because he believed,
 4   based on Defendant’s representations, that it provided a secure outside storage option for
 5   house keys.
 6         39.     At the time of purchase, Plaintiff was unaware of the exploit demonstrated in
 7   the LockPickingLawyer and BosnianBill YouTube videos.
 8         40.     Had Plaintiff been aware of the exploit, he would not have purchased the
 9   5422D or would only have been willing to pay substantially less for it.
10         41.     Plaintiff, like all members of the Class, did not receive the benefit of the
11   bargain.
12                                    CLASS ALLEGATIONS
13         42.     Plaintiff brings this action on behalf of himself and all others similarly
14   situated as a class action pursuant to Federal Rule of Civil Procedure 23. Plaintiff seeks to
15   represent the following class of persons:
16         The Class: All persons in California who, during the Class Period, purchased a
17         5422D or 5423D lock box.
18   The Class Period starts at the earliest date allowed under the applicable statute of
19   limitations and continues to the date of judgment.
20         43.     Specifically excluded from the Class are: (a) any officers, directors or
21   employees of Defendant; (b) any judge assigned to hear this case (or spouse or immediate
22   family member of any assigned judge); (c) any employee of the Court; (d) any juror
23   selected to hear this case; and (e) any attorneys of record and their employees.
24         44.     Plaintiff reserves the right to amend or modify the class definition with greater
25   specificity, by further division into subclasses, or by limitation to particular issues.
26         45.     Numerosity. Class members are so numerous that joinder of each individual
27   class member would be impracticable and unfeasible, and the disposition of their claims
28   as a class will benefit the parties, the Court, and the interests of justice.
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                                        COMPLAINT (CLASS ACTION)
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 1         46.    Ascertainability. The proposed Class is ascertainable from objective criteria.
 2         47.    Commonality and Predominance. There is a well-defined community of
 3   interest among the Class’s members and common questions of both law and fact
 4   predominate over questions affecting individual members. These common legal and
 5   factual questions include, but are not limited to, whether: (1) Master Lock’s representation
 6   that the Products are a secure outside storage option for house keys is materially
 7   misleading; (2) whether Master Lock had a duty to disclose the Products’ vulnerability to
 8   unauthorized access; and (3) whether the Products are fit for the ordinary purpose for
 9   which they are used.
10         48.    Typicality. Plaintiff’s claims are typical of those of all Class members in that
11   they arise out of the same course of conduct by Defendant, and enable him to seek the
12   same relief under the same theories of recovery. The effort Plaintiff undertakes to pursue
13   his claims will significantly benefit Class members because of the identical nature of the
14   issues across the Class.
15         49.    Adequacy of Representation. Plaintiff will fairly and adequately represent
16   and protect the interests of the members of the Class. Plaintiff shares a common interest
17   with Class members. Plaintiff has suffered an injury-in-fact because of Defendant’s
18   conduct. Plaintiff has retained counsel who are competent and experienced in the
19   prosecution of complex class action litigation. Plaintiff and his counsel will prosecute this
20   action vigorously and faithfully for the benefit of the Class. Plaintiff has no interests
21   contrary to the Class, and will fairly and adequately protect the interests of the Class.
22         50.    Community of Interest. The proposed Class has a well-defined community
23   of interest in the questions of fact and law to be litigated. These common questions of law
24   and fact predominate. The named Plaintiff’s claims are typical of the Class’ members.
25         51.    Superiority. The certification of the Class in this action is superior to the
26   litigation of a multitude of cases by members of the putative Class. Class adjudication will
27   conserve judicial resources and will avoid the possibility of inconsistent rulings. Moreover,
28   there are members of the Class who are unlikely to join or bring an action due to, among
                                                  9
                                       COMPLAINT (CLASS ACTION)
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 1    other reasons, their reluctance to spend large sums of time and money to recover a
 2    relatively modest individual recovery. Equity dictates that all persons who stand to benefit
 3    from the relief sought herein should be subject to the lawsuit and hence subject to an order
 4    spreading the costs of the litigation among Class members in relation to the benefits
 5    received. The damages and other potential recovery for each individual member of the
 6    Class are modest relative to the substantial burden and expense of individual prosecution
 7    of these claims. Given the dollar amount of the individual members of the Class’ claims,
 8    few, if any, could or would afford to seek legal redress individually for the wrongs
 9    complained of herein. Even if the members of the Class could afford individual litigation,
10    the court system could not. Individualized litigation presents a potential for inconsistent or
11    contradictory judgments. Individualized litigation increases the delay and expense to all
12    parties and the court system. By contrast, the class action device presents far fewer
13    management difficulties, and provides the benefits of single adjudication, economy of
14    scale, and comprehensive supervision by a single court.
15          52.      In the alternative, the above-referenced Class may be certified because:
16          (a) The prosecution of separate actions by the individual members of the Class
17                would create a risk of inconsistent or varying adjudication with respect to
18                individual Class members’ claims which would establish incompatible standards
19                of conduct for Defendant;
20          (b) The prosecution of separate actions by individual members of the Class would
21                create a risk of adjudications which would as a practical matter be dispositive of
22                the interests of other members of the Class who are not parties to the
23                adjudications, or which would substantially impair or impede the ability of other
24                members to protect their interests; and,
25          (c) Defendant has acted or refused to act on grounds generally applicable to the
26                Class, thereby making appropriate final and injunctive relief with respect to the
27                Class.
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                                         COMPLAINT (CLASS ACTION)
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 1                                     FIRST CAUSE OF ACTION
 2                         Violation of the Unfair Competition Law (“UCL”)
 3                              (Cal. Bus. & Prof Code §§ 17200, et seq.)
 4                                             (Class Claim)
 5          53.       Plaintiff incorporates all preceding and succeeding allegations as if fully set
 6    forth herein.
 7          54.       Defendant has violated and continues to violate California’s UCL (Cal. Bus.
 8    & Prof. Code § 17200, et seq.), which prohibits unlawful, unfair, and fraudulent business
 9    acts or practices
10          55.       Defendant’s acts and practices constitute unlawful, unfair, and fraudulent
11    business practices, in violation of the UCL. In particular, Defendant sold, and continues to
12    sell, Class members the Products even though the Products can be easily and quickly
13    decoded without any special tools. Defendant further affirmatively represented that the
14    Products offered secure outside storage for house keys. Moreover, Defendant failed to
15    disclose to consumers that the Products were vulnerable to unauthorized access.
16          56.       Defendant’s business acts and practices are unlawful in that they violate the
17    Consumers Legal Remedies Act, Cal. Civil Code § 1750, et seq. for the reasons set forth
18    below.
19          57.       Defendant’s acts also constitute fraudulent practices in that they are likely to
20    deceive a reasonable consumer. As described above, Defendant knowingly concealed,
21    continues to conceal, and continues to fail to disclose at the point of sale and otherwise
22    that the Products are suitable for securing house keys. To the contrary, Defendant
23    affirmatively represents that the Products are suited for the secure outside storage of house
24    keys. But for Defendant’s fraudulent omission and affirmative misrepresentations,
25    Plaintiff and Class members would not have purchased the Products, or would have only
26    been willing to pay significantly less for them.
27          58.       Defendant’s conduct also constitutes unfair business practices for at least the
28    following reasons:
                                                     11
                                          COMPLAINT (CLASS ACTION)
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 1                       a. The gravity of potential harm to consumers resulting from Defendant’s
 2                          conduct far outweighs any legitimate utility;
 3                       b. Defendant’s conduct is immoral, unethical, unscrupulous, or
 4                          substantially injurious to consumers; and
 5                       c. By falsely representing that the Products are suitable for outside
 6                          storage of house keys, Defendant gains an unfair advantage over
 7                          competitors whose products either do not suffer from equivalent
 8                          vulnerabilities, or who are honest with customers about the security
 9                          limitations of their products.
10            59.     As a direct and proximate result of Defendant’s conduct, Plaintiff and
11    members of the Class suffered a foreseeable injury-in-fact, in that they either would not
12    have purchased the Products, or would have only been willing to pay significantly less.
13            60.     Plaintiffs and Class members are entitled to equitable relief, including an
14    order requiring Defendant to pay restitution to Plaintiff and the Class of amounts obtained
15    as a result of its unfair, deceptive, and fraudulent practice.
16                                   SECOND CAUSE OF ACTION
17                    Violation of the Consumers Legal Remedies Act (“CLRA”)
18                                    (Cal. Civ. Code § 1750, et seq.)
19                                             (Class Claim)
20            61.     Plaintiff incorporates all preceding and succeeding allegations as if fully set
21    forth herein.
22            62.     Defendant is a “person” within the meaning of Cal. Civ. Code §§ 1761(c) and
23    1770 and has provided “goods” within the meaning of Cal. Civ. Code §§ 1761 (b) and
24    1770.
25            63.     Plaintiff and members of the Class are “consumers” within the meaning of
26    Cal. Civ. Code §§ 1761(d) and 1770 and have engaged in a “transaction” within the
27    meaning of Cal. Civ. Code §§ 1761 and 1770.
28            64.     Defendant’s acts and practices violated the CLRA for at least the following
                                                     12
                                          COMPLAINT (CLASS ACTION)
     Case 2:22-cv-08943-CAS-AS Document 1 Filed 12/09/22 Page 13 of 15 Page ID #:13




 1    reasons:
 2                       a. Defendant represented that the Products had characteristics, uses,
 3                          qualities, or benefits which they did not have;
 4                       b. Defendant advertises the Products with intent not to sell them as
 5                          advertised;
 6                       c. Defendant represents that the Products are of a particular standard,
 7                          quality, or grade when they are not.
 8          65.       On September 20, 2022, Defendant received a letter that complied with
 9    Section 1782(d) of the CLRA, which was prepared by Plaintiff’s counsel on behalf of
10    Plaintiff and the Class. The letter gave Defendant notice of the allegations in this
11    Complaint. Defendant failed to remedy the issues that gave rise to this Complaint, or even
12    respond to the letter. As a result, Plaintiff requests monetary damages, restitution,
13    injunctive relief, and all other applicable relief available under the CLRA.
14          66.       A CLRA affidavit signed by Plaintiff Anthony Pan is attached as Exhibit A.
15                                    THIRD CAUSE OF ACTION
16                          Violation of the False Advertising Law (“FAL”)
17                              (Cal. Bus. & Prof. Code §§ 17500, et seq.)
18                                             (Class Claim)
19          67.       Plaintiff incorporates all preceding and succeeding allegations as if fully set
20    forth herein.
21          68.       The FAL, codified at Cal. Bus. & Prof. Code section 17500, et seq., prohibits
22    “unfair, deceptive, untrue or misleading advertising[.]”
23          69.       Defendant violated the FAL when it deceptively advertised and marketed the
24    Products as a secure storage option for the outdoor storage of house keys. Defendant’s
25    representations were false because the Products do not conform to them.
26          70.       In making and disseminating the representations alleged in this Complaint,
27    Defendant knew or should have known that the representations were untrue or misleading.
28          71.       Defendant’s misrepresentations were specifically designed to induce
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                                          COMPLAINT (CLASS ACTION)
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 1    reasonable consumers, like Plaintiff and Class members, to purchase the Products.
 2          72.       As a foreseeable and proximate result of Defendant’s deceptive advertising,
 3    Plaintiff and Class members were duped into purchasing or overpaying for the Products.
 4          73.       Plaintiff and Class members are entitled to all damages available under the
 5    FAL, including punitive damages, as well as reasonable attorney’s fees and costs of suit.
 6                                    THIRD CAUSE OF ACTION
 7                          Breach of Implied Warranty of Merchantability
 8                                             (Class Claim)
 9          74.       Plaintiff incorporates all preceding and succeeding allegations as if fully set
10    forth herein.
11          75.       By advertising and selling the Products at issue, Defendant, a merchant of
12    goods, made promises and affirmations of fact that the Products are merchantable and
13    conform to the promises or affirmations of fact made on the Products’ packaging and
14    labeling, and through its marketing and advertising, as described herein. This labeling and
15    advertising, combined with the implied warranty of merchantability, constitute warranties
16    that became part of the basis of the bargain between Plaintiffs and members of the Class
17    and Defendant.
18          76.       Contrary to Defendant’s warranties, the Products are unfit for the ordinary
19    purpose for which such goods are used, i.e. outside storage of house keys.
20          77.       On September 20, 2022, Defendant received written notice from Plaintiff’s
21    counsel, pursuant to California Commercial Code §2607, of its breach of breach of implied
22    warranty. Defendant did not respond to the September 20, 2022, notice.
23          78.       As a direct and proximate result of Defendant’s breach of the implied
24    warranty of merchantability, Plaintiff and the Class have been denied the benefit of the
25    bargain and have suffered damages in the form of overpayment. Accordingly, Plaintiff
26    seeks damages, restitution, or disgorgement of ill-gotten gains to compensate Plaintiff and
27    the Class.
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                                                     14
                                          COMPLAINT (CLASS ACTION)
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 1                                    PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff, individually and on behalf of all other similarly
 3    aggrieved persons, pray for judgment against Defendant as follows:
 4          1.    For an order certifying this matter as a class action and appointing Plaintiff
 5                and his undersigned counsel to represent the Class in this litigation;
 6          2.    A judgment requiring Defendant to pay statutory and compensatory damages
 7                as required by law, as well as reasonable attorneys’ fees and costs of suit;
 8          3.    Such other and further relief as the Court may deem just and proper.
 9                                 DEMAND FOR JURY TRIAL
10          Plaintiff hereby demands a jury trial on all issues so triable.
11                                                  Respectfully submitted,
12

13

14    Date: December 9, 2022                        By:              _________
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                                       COMPLAINT (CLASS ACTION)
